                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

B.M., a minor, by his next friend T.M.            )
                                                  )
       Plaintiff,                                 )
                                                  )
       v.                                         )         No. 4:21-cv-00495-DGK
                                                  )
LIBERTY SCHOOL DISTRICT # 53,                     )
                                                  )
       Defendant.                                 )

                ORDER DETERMINING AWARD OF ATTORNEY’S FEES

       On May 7, 2021, Plaintiff B.M., by and through next friend T.M., filed a complaint in the

Circuit Court of Clay County, Missouri. Compl., ECF No. 1-2. Plaintiff, a mentally impaired

child, alleges that Defendant Liberty School District # 53 has discriminated against, harassed, and

retaliated against Plaintiff in violation of the Missouri Human Rights Act (MHRA). Id. The

Complaint alleges that Defendant’s staff purposefully tried to elicit negative reactions from

Plaintiff by placing him in uncomfortable situations and by frequently changing his school

schedule. Compl. ¶ 33–39. The Complaint also includes allegations that Defendant failed to

accommodate Plaintiff’s disabilities. Id. ¶ 24.

       Plaintiff served the Complaint on Defendant on June 15, 2021. Defendant removed the

case to this Court the same day, arguing that this Court possessed federal question jurisdiction

because “the substantive issue in [the Complaint] is whether [Defendant] provided adequate

educational services to Plaintiff B.M—a requirement created by the IDEA.” Notice, ECF No. 1.

On November 15, 2021, the Court remanded the case, Order, ECF No. 20. Because—among other

reasons—Defendant’s arguments for federal subject matter jurisdiction were foreclosed by Eighth

Circuit law, the Court also held that Defendants lacked an objectively reasonable basis for removal




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and that Plaintiff is therefore entitled to attorney’s fees incurred as result thereof. See id. at 4–5;

Order, ECF No. 24.       Plaintiff and Defendant submitted briefing on Plaintiff’s appropriate

attorney’s fee award, ECF Nos. 22, 26, which the Court calculates below.

       Both parties agree that a lodestar analysis is appropriate in this case, however they disagree

on Plaintiff’s appropriate hourly rate and proposed hours. Plaintiff requests an hourly rate of $425,

while Defendant argues that $400 is more appropriate. Defendant argues Plaintiff’s requested rate

is too high given Plaintiff’s Counsel’s experience. Defendant points to the data published in the

Missouri Lawyer’s Weekly on hourly rates, which shows that Missouri attorneys practicing civil

rights litigation charged between $100 and $575 per hour in 2021. Def. Ex., ECF No. 26-1. But

this data only shows that Plaintiff’s requested hourly rate is within an appropriate range. Given

Plaintiff’s Counsel’s experience—over nine years of civil-rights practice in which he has briefed

and/or argued multiple cases before the Missouri Court of Appeals, the Missouri Supreme Court,

the United States District Court for the District of Kansas, and the United States District Court for

the Western District of Missouri, Edelman Aff. ¶ 3–7, ECF No. 22-1, the Court concludes that

Plaintiff’s requested rate is reasonable.

       Regarding Plaintiff’s proposed hours, Plaintiff’s Counsel calculates that he expended 29.9

hours as a result of Defendant’s removal. This equates to 4.9 hours briefing Plaintiff’s Opposition

to Defendant’s Motion to Dismiss, ECF No. 6, and Plaintiff’s Motion to Remand, ECF Nos. 7, 8,

and 25 hours briefing Plaintiff’s reply in support of the motion to remand, ECF No. 14. Defendant

does not take issue with Plaintiff’s 4.9 proposed hours briefing the opposition to the motion to

dismiss and the motion to remand, but argues that Plaintiff’s should only be compensated for 14

hours briefing the reply in support of the motion to remand. However, Defendant’s brief in

opposition to the motion to remand, ECF No. 12, made numerous arguments which obfuscated the



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applicable law, and Plaintiff was within his right to respond to each argument. The Court finds 25

hours is a reasonable amount of time required to respond to each argument. Plaintiff is entitled to

an attorney’s fees of $12,707.50.

       IT IS SO ORDERED.

Date: September 16, 2022                           /s/ Greg Kays
                                                 GREG KAYS, JUDGE
                                                 UNITED STATES DISTRICT COURT




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